        Case 12-20447            Doc 7-1 Filed 07/31/12 Entered 07/31/12 11:52:07                             Desc Disch
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